      Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 1 of 7




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN

DRIFTLESS AREA LAND CONSERVANCY
and WISCONSIN WILDLIFE FEDERATION,                   No. 19-cv-1007

                  Plaintiffs,

       v.

MICHAEL HUEBSCH, REBECCA VALCQ,
ELLEN NOWAK, and PUBLIC SERVICE
COMMISSION OF WISCONSIN,

                  Defendants,

AMERICAN TRANSMISSION COMPANY
LLC, BY ITS CORPORATE MANAGER,
ATC MANAGEMENT, INC, DAIRYLAND
POWER COOPERATIVE, AND ITC
MIDWEST LLC,

                  Intervenor-Defendants,


      INTERVENOR-DEFENDANT AMERICAN TRANSMISSION COMPANY LLC,
          DAIRYLAND POWER COOPERATIVE, AND ITC MIDWEST LLC’S
        REPLY IN SUPPORT OF MOTION TO STAY THE PROCEEDINGS AND
                          POSTPONE THE TRIAL


       On October 20, the Intervenor-Defendants asked this Court to stay the proceedings until

the Court issues its decision on the pending motions to dismiss. (ECF No. 101) On October 27,

the Plaintiffs responded in opposition. (ECF No. 113) At the telephone motion hearing held on

October 28, the parties were instructed that the Court was likely to rule on the pending motions

to dismiss by Monday, November 2. Had this occurred, the Intervenor-Defendants’ motion to

stay the proceedings and postpone the trial would have effectively been moot.

       On Friday October 30, however, the Court scheduled oral arguments on the pending

motions to dismiss, which will occur on November 9. (ECF No. 125) Given this new
        Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 2 of 7




development, and the numerous pending discovery disputes (none of which should be occurring

because discovery should have been stayed months ago), the Intervenor-Defendants hereby

reiterate the need for this Court to immediately stay all proceedings.


                                                   ARGUMENT

         The Plaintiffs’ response spends very little time disputing the threshold question of

whether this Court should have stayed the proceedings because the government Defendants’

raised immunity defenses. This is for good reason, since the Seventh Circuit’s decision in

Landstrom is directly on point.1 Landstrom v. Illinois Dep't of Children & Family Servs., 892

F.2d 670, 674 (7th Cir. 1990) (raising immunity in a motion to dismiss requires the stay of all

discovery).

         The Plaintiffs instead raise two novel legal arguments in their response brief.

Notwithstanding the fact that the Plaintiffs cited to no authority in support of these two new,

inventive arguments, the Intervenor-Defendants felt they should briefly reply.2




1
  The Plaintiffs do spend some time disputing the merits of the government Defendants’ immunity defenses―calling
the arguments “very weak and unlikely to prevail.” (ECF No. 113 at 14) But the cases Plaintiffs cite are inapposite.
For example, in Apostal v. Gallion, the Seventh Circuit noted that an interlocutory appeal from an immunity
determination typically divests a trial court of jurisdiction to require the appealing defendants to stand trial, although
the district court could certify that the appeal is frivolous or forfeited to proceed with trial. 870 F.2d 1335, 1338-39
(7th Cir. 1989). Moreover, Plaintiffs cite various lower court decisions for the proposition that district courts
regularly take a “preliminary peek” at the merits of a motion to dismiss before staying discovery, (ECF No. 113, at
14-15), but none of those cases involves any immunity defenses. At base, the Plaintiffs seem to be arguing that the
Court should decide the merits of the immunity defenses in order to decide whether to stay discovery pending a
decision on the immunity defenses. Such an approach would put the cart before the horse.
2
  The Plaintiffs’ response brief includes hyperbole and numerous unsubstantiated (and inaccurate) factual assertions.
For example, the Plaintiffs assert that the Intervenor-Defendants’ motion is just “one more attempt in the continuing
series of efforts by Defendants and Defendant-Intervenors to delay discovery in this case.” (ECF No. at 2) Not only
is this factually inaccurate, the Plaintiffs themselves are to blame for delaying discovery. The Plaintiffs served their
first set of discovery on the government Defendants on June 3, and by their own admission, the government
Defendants served “the final round of production on July 10, 2020.” (Id. at 4) The Plaintiffs did not propound any
more discovery on the government Defendants or the Intervenor-Defendants in this case until October―nearly three
months later. Regardless, because the facts underlying the various pending discovery disputes have no bearing on
whether this Court should stay the proceedings, the Intervenor-Defendants will not reply to them here.


                                                          -2-
       Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 3 of 7




   I. The Court can correct errors in prior orders at any time.

       First, the Plaintiffs argue that the Intervenor-Defendants cannot seek a stay because this

Court already refused to stay discovery, the government Defendants did not appeal that prior

decision, and the Intervenor-Defendants agreed to the Court’s schedule after they were allowed

to intervene. (ECF 113 at 13-14) This waiver argument, however, belies both common sense and

the law.

       Until it issues a final judgment, this Court always has the ability to revise previous orders

that it determines were made in error. And a party does not, and cannot, waive its ability to ask

the Court to correct those prior errors. Such a rule would lead to absurd results, effectively tying

the Court’s hands and not allowing it to correct its own mistakes.

       The Court’s decision to allow discovery to proceed was, of course, interlocutory, and

according to Fed. R. Civ. P. 54(b), the Court is allowed to revise interlocutory orders at any time

before the entry of a final judgment. Fed. R. Civ. P. 54(b) (“any order or other decision, however

designated, that adjudicates fewer than all the claims or the rights and liabilities of fewer than all

the parties does not end the action as to any of the claims or parties and may be revised at any

time before the entry of a judgment adjudicating all the claims and all the parties’ rights and

liabilities”); see also Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.3d 804, 809 (8th Cir. 2003)

(recognizing the “well-established rule that a district judge always has power to modify or to

overturn an interlocutory order or decision while it remains interlocutory”).

       In other words, district courts have inherent authority under Fed. R. Civ. P. 54(b) to

reconsider interlocutory orders and re-open any part of a case prior to the entry of final

judgment. Simmerman v. Ace Bayou Corp., 304 F.R.D. 516, 518 (E.D. Ky. 2015). Such

reconsideration is appropriate when there is 1) an intervening change of controlling law; 2) new

evidence available; or 3) a need to correct a clear error or prevent manifest injustice. Id.


                                                 -3-
         Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 4 of 7




(citations omitted). Here, there is a need to correct a clear error of law, and the Court needs to do

so to prevent manifest injustice.

         Moreover, all interlocutory orders merge into the final judgment and can be challenged in

an appeal from that judgment. See Baldwin v. Redwood City, 540 F.2d 1360, 1364 (9th Cir.

1976). As such, one does not waive the right to re-argue the merits of an interlocutory order by

failing to appeal it; in fact, there are only a few situations were an interlocutory order is even

appealable (like when a party raises sovereign immunity as a defense). Richman v. Sheahan, 270

F.3d 430, 434 (7th Cir. 2001) (immunity immediately appealable).

   II.      The Intervenor-Defendants do have standing to request a stay of discovery.

         Second, the Plaintiffs argue that the Intervenor-Defendants do not have standing to ask

this Court for a stay because the government Defendants’ are the potentially immune parties.

(ECF No. 113, at 12-13) Putting aside the question of whether the Intervenor-Defendants have

standing to raise the issue (they do, as discussed below), for the same reasons discussed above, a

party can always (and should be encouraged to) bring to the Court’s attention a procedural error

that previously occurred in the case. Moreover, the government Defendants’ already asked the

Court for a stay, so their position is known, and their right to appeal that decision has been

preserved. From a practical perspective, whether the Intervenor-Defendants have standing to ask

for a stay without the government Defendants’ also seeking such relief is immaterial.

         In any event, to demonstrate standing under Article III of the U.S. Constitution, a party

must demonstrate “(1) injury in fact (the actual or imminent invasion of a concrete and

particularized interest), (2) causation (a causal connection between the defendant's actions and

the injury), and (3) redressability (the likelihood that the injury is redressable by a favorable

court decision).” Heartwood, Inc. v. U.S. Forest Serv., 230 F.3d 29 947, 951 (7th Cir. 2000); see

also Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). The Intervenor-Defendants easily


                                                 -4-
       Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 5 of 7




meet this test. The Seventh Circuit has in fact already decided that the Intervenor-Defendants

have standing:

                 There is also a minor debate about standing. We do not understand
                 why. The transmission companies hold valuable rights under the
                 government-issued permit authorizing them to build a major power
                 line . . . The permit―and thus the entire power-line project―is at
                 risk of nullification in this litigation. A favorable decision will
                 prevent that injury. No more is needed for Article III standing.

Driftless Areas Land Conservancy v. Michael Huebsch, et al., Case No. 20-1350 slip op. at 5, n.

1 (7th Cir. 2020).

       The Co-Owners have an independent right to participate in this proceeding, which

includes the right to ensure that the procedures in the proceeding are properly followed. Id. at

slip. op. 7-13. Moreover, allowing discovery to proceed will cause the Intervenor-Defendants

(and more particularly, their ratepayers) to incur substantial and unnecessary costs defending and

responding to discovery that never should have been allowed to proceed in the first place. This

Court’s order staying discovery will redress that potential injury.

       Plaintiffs cite Brown v. Colegio De Abogados De Puerto Rico, 826 F.Supp. 2d 406, 418

(D.P.R. 2011) to support their argument that Defendant-Intervenors cannot raise the government

Defendants’ immunity defense as a reason for staying discovery. (ECF No. 113, at 12). In

Brown, bar association members sued as a class and alleged that the bar association violated their

First Amendment rights by requiring them to purchase life insurance. Brown, 826 F. Supp. 2d at

409-10. The court held that several putative intervenors did not have standing to raise an

Eleventh Amendment immunity defense on the bar association’s behalf, and that because the bar

failed to argue immunity during the case, the bar association had waived its immunity defense.

Id. at 418-19.




                                                -5-
       Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 6 of 7




       In other words, the putative intervenors in Brown were attempting to raise an immunity

defense as a substantive matter—that is, in an attempt to convince the Court to alter a judgment it

had already entered—and the primary defendant had not raised such a defense. That is obviously

not the situation here, where the primary Defendants have raised an immunity defense, (see ECF

No. 7, at 7-12), and Intervenor-Defendants are requesting that the Court stay discovery in light of

that reality. Accordingly, Brown is not instructive. And regardless, even if the Intervenor-

Defendants did not have standing, the government Defendants certainly do have standing, and

they have expressly indicated that they support Intervenor-Defendants’ motion for a stay. (See

ECF No. 101, at 2 n.1).

                                         CONCLUSION

       For these reasons and the reasons articulated in their motion, the Intervenor-Defendants

respectfully move this court to immediately stay all proceedings and postpone the trial pending

the outcome of its ruling on the motions to dismiss and any appeals thereof.




                                               -6-
      Case: 3:19-cv-01007-wmc Document #: 128 Filed: 11/02/20 Page 7 of 7




Dated: November 2, 2020

Respectfully submitted,

 PERKINS COIE, LLP                                   FREDRIKSON & BYRON, P.A.

 /s/ Brian H. Potts                                  /s/ Lisa M. Agrimonti
 Brian H. Potts (Wis. Bar No. 1060680)               Lisa M. Agrimonti (Wis. Bar No. 1032645)
 David R. Zoppo (Wis. Bar No. 1094283)               Haley L. Waller Pitts (Wis. Bar No. 1115291)
 33 East Main Street, Suite 201                      John P. Pavelko (MN Bar No. 0398495)
 Madison, WI 53703-5118                              200 South 6th Street, Suite 4000
 Tel: (608) 663-7460                                 Minneapolis, MN 55402
 Fax: (608) 663-7499                                 Tel: (612) 492-7000
 Email: bpotts@perkinscoie.com                       Fax: (612) 492-7077
         dzoppo@perkinscoie.com                      Email: lagrimonti@fredlaw.com
                                                            hwallerpitts@fredlaw.com
 Attorneys for Intervenor-Defendant-Appellants              jpavelko@fredlaw.com
 American Transmission Company LLC and ATC
 Management Inc.
                                                     TAFT STETTINIUS & HOLLISTER LLP
 WHEELER, VAN SICKLE & ANDERSON,                     Valerie T. Herring
 S.C.                                                (Wis. Bar No. 1076996)
                                                     2200 IDS Center
 /s/ Justin W. Chasco                                80 South 8th Street
 Justin W. Chasco (Wis. Bar No. 1062709)             Minneapolis, MN 55402-2157
 44 East Mifflin Street, Suite 1000 Madison, WI      Tel: (612) 977-8400
 53703                                               Fax: (612) 977-8650
 Tel: (608) 255-7277                                 Email:       vherring@taftlaw.com
 Fax: (608) 255-6006
 Email: jchasco@wheelerlaw.com                       Attorneys for ITC Midwest LLC

 Attorney for Intervenor-Defendant-Appellant
 Dairyland Power Cooperative




                                               -7-
